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                IN THE UNITED    STATES    DISTRICT      COURT
                FOR THE   SOUTHERN DISTRICT       OF   GEORGIA
                            AUGUSTA DIVISION




UNITED   STATES   OF AMERICA          *


           v.                         *      CR   112-119-04


JOEY LEON GREENE,     JR.             *




                                ORDER




     In the captioned criminal matter,                 Defendant Joey Leon

Greene, Jr. has written the Court a detailed letter outlining

his personal circumstances and post-sentencing rehabilitation

efforts.    On the strength of these matters, Defendant seeks

reconsideration of his sentence and even immediate release.

With only three exceptions, however, a court may not modify a

sentence once it has been imposed.                18 U.S.C.      § 3582(c).

Under the first exception,           a court may entertain a motion

filed by the Director of the Bureau of Prisons under certain
circumstances.       18     U.S.C.    §   3582(c)(1)(A).         The   second

exception references Rule 35 of the Federal Rules of Criminal
Procedure for instances when correcting sentence is proper.

18 U.S.C. § 3882(c)(1)(B).           Rule 35 allows modification upon

an order from an appellate court,             upon a motion from the

Government, or to correct a computational error within seven

days of sentencing.          Finally, under the third exception a
court may reduce a sentence that was "based on a sentencing
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range that has         subsequently been lowered by the Sentencing

Commission pursuant         to    28   U.S.C.    §   944(o)."       18   U.S.C.    §

3582(c) (2) .     Defendant's request for a reduction in this case

does not fall within any of these exceptions.                       Accordingly,

the   Court      is   without    authority      to   modify   the    Defendant's

sentence as requested.            His motion to reduce          (doc.     181)    is

therefore DENIED.


        ORDER ENTERED at Augusta, Georgia, this ^^jC^Jday of
July,    2016.




                                             HONSR&SLE J. RANDAL HALI
                                             UNITED    STATES DISTRICT JUDGE
                                             SOUTHERN DISTRICT OF GEORGIA
